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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

 TEXAS MEDICAL ASSOCIATION,                           )
 DR. ADAM CORLEY, and TYLER RE-                       )
 GIONAL HOSPITAL, LLC,                                )
                                                      )
                    Plaintiffs,                       )
                                                      )
 v.                                                   )
                                                      )
 UNITED STATES DEPARTMENT OF                            Civil Action No. 6:22-cv-00372-JDK
                                                      )
 HEALTH AND HUMAN SERVICES, DE-                       )
 PARTMENT OF LABOR, DEPARTMENT                        )
 OF THE TREASURY, and the CURRENT                     )
 HEADS OF THOSE AGENCIES IN THEIR                     )
 OFFICIAL CAPACITIES,                                 )
                                                      )
                   Defendants.                        )

                 JOINT MOTION TO CONSOLIDATE AND TO SET AN
              EXPEDITED SUMMARY JUDGMENT BRIEFING SCHEDULE

       The parties to the above-captioned case respectfully submit this joint motion to consolidate

this action with LifeNet, Inc. v. Department of Health & Human Services, No. 6:22-cv-00373, and

to set an expedited summary judgment briefing schedule that would permit this Court to render a

decision in the consolidated actions by the end of January 2023. Counsel for LifeNet has author-

ized the parties to represent that LifeNet joins in the relief sought in this motion.

       These two cases are follow-on actions to Texas Medical Association v. Department of

Health & Human Services, No. 6:21-CV-425-JDK, 2022 WL 542879 (E.D. Tex. Feb. 23, 2022),

and LifeNet, Inc. v. Department of Health & Human Services, 2022 WL 2959715, No. 6:22-cv-

00162 (E.D. Tex. July 26, 2022), in which this Court invalidated portions of an interim final rule

issued by defendants that addressed the standards for the independent dispute resolution (“IDR”)

process established by the No Surprises Act (“NSA”).



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       Defendants have now issued a final rule implementing the NSA’s IDR process. See 87 Fed.

Reg. 52,618 (Aug. 26, 2022). The final rule removes the provisions of the interim final rule that

were vacated by this Court in the earlier actions and replaces them with a new set of provisions.

In the two new cases, plaintiffs challenge the final rule on substantially similar grounds, alleging

that it unlawfully privileges the qualifying payment amount (“QPA”) over the other statutory fac-

tors. Defendants dispute this characterization of the final rule, and they deny that plaintiffs are

entitled to relief with respect to that rule. Because the cases raise common issues of law, judicial

economy would best be served by consolidating them for purposes of briefing and decision. See

Fed. R. Civ. P. 42(a) (authorizing consolidation where “actions before the court involve a common

question of law or fact”). The parties request that this action be designated the lead case, and that

all future filings be made in this docket.

       The final rule takes effect on October 25, 2022, 87 Fed. Reg. at 52,618, and applies to items

and services provided or furnished on or after that date, id. at 52,632. The parties estimate that

arbitrators could begin reviewing cases under the final rule by the first week of February 2023 and

that arbitrators would begin issuing decisions under the final rule by early March 2023. Accord-

ingly, the parties jointly move the Court to adopt the following agreed-upon schedule for summary

judgment briefing:

   •   Plaintiffs’ motions for summary judgment – October 12, 2022

   •   Amicus curiae briefs supporting plaintiffs – October 19, 2022

   •   Defendants’ opposition/cross-motion for summary judgment – November 9, 2022

   •   Amicus curiae briefs supporting defendants – November 16, 2022

   •   Plaintiffs’ oppositions/replies in support of summary judgment – November 23, 2022

   •   Defendants’ reply in support of summary judgment – December 15, 2022


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       All counsel in both matters note that they are available for oral argument from December

19 through December 22, 2022, and on January 3, 2023.

       For the briefing format, the parties propose that plaintiffs in each of the two cases be per-

mitted to file (i) separate summary judgment motions of up to 30 pages each and (ii) separate

opposition/reply briefs of up to 30 pages each. However, plaintiffs anticipate that they may be able

to coordinate to avoid duplication and may not use all of their allotted pages. Therefore, the parties

propose that defendants be permitted to file (i) a single consolidated opposition/cross-motion for

summary judgment of at least 40 pages, up to a maximum of the total combined page count of

plaintiffs’ summary judgment motions and (ii) a single consolidated reply brief of at least 30 pages,

up to a maximum of half the total combined page count of plaintiffs’ opposition/reply briefs. All

parties reserve the right to request additional pages for their opposition and reply briefs, after re-

viewing the other parties’ submissions.

       Plaintiffs agree to waive defendants’ obligation to answer the complaints, and defendants

reserve the right to raise threshold objections to either complaint in their dispositive briefing.

                                          CONCLUSION

       For these reasons, the parties respectfully request that the Court consolidate the two actions

and enter the proposed briefing schedule and format set out above. Proposed orders are attached.

Dated: September 30, 2022                      Respectfully submitted,


                                               /s/ Penny P. Reid

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                                 Counsel for Defendants




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                            CERTIFICATE OF CONFERENCE

       Undersigned counsel certifies that counsel for all parties have agreed upon this motion.


                                                            /s/ Penny P. Reid

                                                            Penny P. Reid




                               CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was filed electronically in compli-

ance with Local Rule CV-5(a). This document was also served on all counsel via email service,

on September 30, 2022.



                                                            /s/ Penny P. Reid

                                                            Penny P. Reid




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